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U.S. Magistrate Judge Sharon L. Ovington (Courtroom Minutes)


PLEA                                               DATE: 7/2/19

CAPTION: USA v. CLAYTON LUCKIE                     CASE NUMBER: 3:18-cr-184

Pltf’s Attorney:                                   Deft’s. Attorney:
Brent Tabacchi                                     Aaron Durden

[ T ] Defendant appeared with counsel, Aaron Durden, and sworn.
[ T ] Defendant consents to Magistrate Judge jurisdiction to accept plea.
[ T ] Advisory sentencing guidelines and maximum penalties discussed and
      understood. (Section 3353a factors of Title 18 included).

[ T ] Constitutional rights explained and understood.
[ T ] Defendant waived constitutional rights.
[ T ] Each page of the Plea Agreement initialed by Defendant.
[ T ] Statement of Facts read into record by Brent Tabacchi.
[ T ] Defendant acknowledged accuracy of Statement of Facts.
[ T ] Defendant entered a plea of GUILTY to Count 1 .
[ T ] Court will recommend that the Plea be accepted and made a permanent part of the
       record.
[ T ] Defendant referred to Probation Department for Presentence Investigation.
[ T ] Bond Continued.
[ T ] Sentencing set for Friday, 11/15/19 at 9:30 a.m. before Judge Rose.




COURT REPORTER: Jamie Hurley                              CONVENED: 10:01
DEPUTY CLERK: Rose Plummer                                RECESSED: 10:25
